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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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THOMAS P. KOESTLER,

Petitioner,

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MEMORANDUM OPINION

MARTIN SHKRELLI, : AND ORDER

Respondent.
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APPEARANCES:

For Receiver Derek C. Abbott:
Scott A. Ziluck

Halperin Battaglia Benzija LLP
40 Wall Street, 37% ® Floor

New York, NY 10005

For Akkadian Stock Partners SA:
Joshua Levin-Epstein
Levin-Epstein & Associates, P.C.
60 BE. 42"¢ Street, Suite 4700
New York, NY 10770

DENISE COTE, District Judge:

The Receiver Derek C. Abbott seeks permission to distribute
proceeds of a stock sale and the issuance of a release in
connection with that distribution. For the following reasons,

the Receiver’s request is granted.

Background
On September 14, 2016, Dr. Thomas P, Koestler (“Judgment

Creditor”) filed this action against Martin Shkreli (“Judgment

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Debtor”), seeking confirmation of an arbitration award in his
favor. The arbitration award was based on the value of shares
owed to the Judgment Creditor pursuant to a transfer agreement
signed by both parties. On February 6, 2017, the Honorable
Robert W. Sweet confirmed the arbitration award and ordered that
judgment in the amount of over $2.6 million be issued to the
Judgment Creditor.

On August 16, 2021, the Receiver was appointed to take
actions with respect to certain identified assets of the
Judgment Debtor. Those assets included Phoenixus stock.

On May 22, 2023, the Receiver and Akkadian Stock Partners
SA (“Akkadian”) entered into a Stock Purchase Agreement (“SPA”).
On July 25, 2023, the Court approved the Receiver’s sale of
certain Phoenixus stock to Akkadian pursuant to SPA. On January
19, 2024, acting on joint instructions from the Receiver and
Akkadian, the Escrow Agent released certain proceeds from the
sale of the Phoenixus stock to the Receiver. The amount
released was $960,445 (*Funds”).

On March 8, the Receiver requested Court approval to
release the Funds to the Judgment Creditor. The Receiver
learned that Akkadian may have objections to the distribution.
A March 12 Order set a period for objections to the
distribution. On April 5, Akkadian objected to the

distribution.

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Discussion

Akkadian first asks that $150,000 be held back from
distribution since those funds may be necessary to reimburse the
Escrow Agent in the event it incurs expenses during litigation
between the Receiver and Akkadian. In making this request,
Akkadian relies on § 2 of the SPA, which provides for
indemnification of Escrow Agent fees, costs and expenses it
incurs in the event “of any litigation between Buyer and
Seller”.

This request is denied. The Escrow Agent's work is over.
The Funds have already been released. They were released
pursuant to joint instructions from Akkadian and the Receiver.
There is no representation that the Escrow Agent incurred any
reimbursable expenses during the time it served as Escrow Agent,
specifically expenses due to litigation between Akkadian and the
Receiver.

Akkadian next asks that the Funds be used to reimburse
Akkadian for its legal expenses incurred in the Delaware
Bankruptcy Court and in Switzerland. This request arises from

the following set of circumstances. Phoenixus and its

affiliates filed for bankruptcy in the Bankruptcy Court of the

District of Delaware on May 9, 2023. The Debtors then sought an

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injunction to prevent Akkadian from replacing the Phoenixus
Board, among other things. Akkadian incurred legal expenses in
defending against the adversary proceeding, both in the Delaware
Bankruptcy Court and in Switzerland.

In making this request for reimbursement, Akkadian points
to a provision of the SPA. That provision gave Akkadian the
right to rescind the sale of stock in certain delineated
circumstances that are not at issue here. Akkadian argues that,
because it “had to step into the shoes of the Receiver”, the
sale price for the shares should be modified to reimburse
Akkadian’s expenses.

This request for reimbursement fails. The SPA was executed
after Phoenixus had filed for bankruptcy. Nothing in the SPA
orovides Akkadian with the right to seek reimbursement for its
litigation expenses during the bankruptcy proceeding. And, by
issuing the instruction to the Escrow Agent lo release the Funds
to the Trustee, Akkadian has forfeited any right to claw back
those funds.

Finally, Akkadian argues that the SPA should be cancelied
because Akkadian received no consideration for its purchase of
the Phoenixus shares. It contends that the Debtors once had
over $8 million on hand but have “squandered” all of that cash.
Akkadian complains that the Receiver never filed an objection in

the Bankruptcy Court.

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This argument is no more successful. Akkadian received the
Phoenixus stock through the SPA. That is its consideration.
Moreover, the explicit terms of the SPA bar Akkadian’s claim.
The SPA contained acknowledgments that the investment in
Phoenixus was “highly speculative”, and that Akkadian was able
to hold the shares for “an indefinite period” and to suffer a
“complete loss”. Months before it issued the joint instruction
to the Escrow Agent to distribute the Funds, Akkadian had
received the stock and taken control of Phoenixus.

Conclusion

The Receiver’s March 8 request to release funds and for a

release is granted.

Dated: New York, New York
April 17, 2024

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BENISE COTE
United States District Judge

